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                 EXHIBIT 12
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                                                      U.S. Department of Justice

                                                      Civil Division, Fraud Section




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                                                      December 8, 2006
Via Electronic Transmission

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Re:     U.S. ex rel. Ven-a-Care of the Florida Keys Inc v. Abbott Laboratories, MDL No.
        1456/No. 01-12257-PBS; U.S. ex rel. Ven-a-Care of the Florida Keys Inc v. Dey, Inc.,
        MDL No. 1456/Civil Action No. 01-12257-PBS.

Dear Counsel:

        This letter concerns Abbott’s notice of deposition for the HHS employee(s) “principally
responsible for drafting the regulation that implemented transitional pass-through payments for
certain classes of drugs, biologicals and devices...” The notice further references pertinent Final
Rules published in the Federal Register. It appears that Abbott intends to take a deposition
regarding information that is (a) wholly protected from disclosure by the deliberative process
privilege and (b) completely irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence.

        The underlying purpose of the deliberative process privilege is to protect governmental
decision-making by maintaining the confidentiality of advisory opinions, recommendations, and
deliberations that comprise part of the process by which government formulates law or policy.
Accordingly, it seems reasonably clear that any questions put to the author of a government
regulation regarding the selection of the final language of such regulation and the policies
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implemented therein are certain to be met with the invocation of the privilege. If you intend to
inquire about other issues in the deposition, please respond by identifying the subjects you would
pursue were the deposition to go forward.

        Moreover, we cannot discern any relevance for the testimony that Abbott is seeking in the
context of this, or probably any, case. As noted in a previous letter to Mr. Cook, the First Circuit
has expressly held that in determining the meaning of a regulation, agency interpretations are
only relevant if they are reflected in public documents as opposed to non-public or informal
understandings of agency officials. United States v. Lachman, 387 F.3d 42 (1st Cir. 2004). If
you are aware of any precedent to the contrary, please provide us with citation to same.

        In light of the foregoing, we question whether there is any point to conferring with you at
this juncture concerning an alternative date for such a deposition and, rather, suggest that the
matter of scheduling be deferred while we attempt to resolve the privilege and relevancy issues.
We believe the AWP MDL proceeding contemplates that Dey participate in these depositions or
waive its right to re-notice them. Accordingly, we would appreciate hearing Dey’s views on the
above issues in addition to those of Abbott.

       Thank you for your attention. I look forward to hearing from both Abbott and Dey.

                                            Very Truly Yours,


                                                 /s/
                                           Justin Draycott
                                           Trial Attorney
                                      Commercial Litigation Branch


cc:    James Breen
       The Breen Law Firm
       Counsel for Relator
